Case 1:03-cr-00232-MAC-KFG            Document 621        Filed 08/12/15      Page 1 of 6 PageID #:
                                             2674




                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   BEAUMONT DIVISION

  UNITED STATES OF AMERICA                         §
                                                   §
  VS.                                              §    CASE NO. 1:03-CR-232(11)
                                                   §
  JOHN DARRELL GORDON                              §

           FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to 28 U.S.C. § 636(b) and the Local Rules for the District Court, Eastern District

  of Texas, the District Court referred this matter for hearing and the submission of findings of fact

  and a report and recommendation pursuant to 18 U.S.C. §§ 3401(i) and 3583(e). The United States

  alleges that the defendant, John Darrell Gordon, violated conditions of supervised release imposed

  by United States District Judge Marcia A. Crone. The United States Probation Office filed its

  Petition for Warrant or Summons for Offender Under Supervision (doc. #604) requesting the

  revocation of the defendant’s supervised release. The Court conducted a hearing on August 11,

  2015, in accordance with Federal Rules of Criminal Procedure 11, 32 and 32.1. The defendant was

  present and represented by counsel at the hearing. Having heard the evidence, this court factually

  finds that the defendant has violated conditions of supervision and recommends that such violation

  warrants the revocation of his supervised release.


                                                 -1-
Case 1:03-cr-00232-MAC-KFG            Document 621        Filed 08/12/15      Page 2 of 6 PageID #:
                                             2675



         After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure11, the Court finds:

         a.      That the defendant, after consultation with counsel of record, has knowingly, freely

  and voluntarily consented to the administration of the plea of true in this cause by a United States

  Magistrate Judge subject to a final approval and imposition of sentence by the District Court.

         b.      That the defendant is fully competent and capable of entering an informed plea, that

  the defendant is aware of the nature of the charges and the consequences of the plea, that his plea

  of true is a knowing and voluntary plea, not the result of force or threats, and that the plea is

  supported by an independent evidentiary basis in fact establishing each of the essential elements of

  the conduct.

                                   STATEMENT OF REASONS

         A. Procedural History

         On November 1, 2004, The Honorable Marcia A. Crone, U.S. District Judge for the Eastern

  District of Texas, sentenced Mr. Gordon after he pled guilty to the offense of conspiracy to possess

  with intent to distribute 500 grams or more of methamphetamine, a Class A felony. Judge Crone

  sentenced the defendant to 135 months imprisonment followed by 5 years supervised release subject

  to the standard conditions of release, plus special conditions to include financial disclosure, drug

  aftercare, co-defendant restriction and a $100 special assessment. On August 9, 2013, John Darrell

  Gordon completed his period of imprisonment and began service of the supervision term.

         B. Allegations in Petition

         The United States Probation Office alleges that the defendant violated the following

  mandatory condition of his supervised release:


                                                 -2-
Case 1:03-cr-00232-MAC-KFG           Document 621         Filed 08/12/15      Page 3 of 6 PageID #:
                                            2676



         The defendant shall refrain from any unlawful use of a controlled substance. The defendant

  shall submit to one drug test within 15 days of release from imprisonment or placement on

  probation and at least two periodic drug tests thereafter, as directed by the probation officer.

         Specifically, the petition alleges that on May 7, 2014, John Darrell Gordon submitted a urine

  specimen which tested positive for methamphetamine

         C. Evidence presented at Hearing:

         At the hearing, the Government proffered evidence in support of the allegation in the

  petition to revoke. Specifically, if the case proceeded to a final hearing, the Government would

  present evidence to establish that Mr. Gordon was placed on supervised release as part of his

  original sentence and a condition of that supervision he was directed to refrain from the unlawful

  use of a controlled substance. The Government would establish through verified evidence that John

  Darrell Gordon submitted a urine specimen for testing on May 7, 2014, which yielded a positive

  test result for methamphetamine.

         Defendant, John Darrell Gordon, offered a plea of true to the allegations. Specifically, he

  agreed with the evidence summarized above and pled true to the allegation that he used a controlled

  substance in violation of his supervision conditions.

         D. Sentencing Guidelines; Findings and Recommended Disposition

         The allegations, supporting evidence and plea of true warrant revocation of supervised

  release. See 18 U.S.C. § 3583(e)(3). The Court factually finds by a preponderance of the evidence

  that the defendant violated a mandatory condition of his supervised release by using a controlled

  substance. This conduct constitutes a Grade C violation under U.S.S.G. § 7B1.3(a)(1). Upon

  finding a Grade C violation, the Court may revoke the defendant’s supervised release. See U.S.S.G.


                                                 -3-
Case 1:03-cr-00232-MAC-KFG                Document 621           Filed 08/12/15        Page 4 of 6 PageID #:
                                                 2677



  § 7B1.3(a)(2).

             Based upon the Defendant’s criminal history category of II and the Grade C violation, the

  sentencing guidelines suggest a sentence of imprisonment for a period ranging from 4 to 10 months.

  See U.S.S.G. § 7B1.4(a). Because the original offense of conviction was a Class A felony, the

  statutory maximum imprisonment term upon revocation is five (5) years.                        See 18 U.S.C.

  § 3583(e)(3).

             If the Court revokes a defendant’s term of supervision and orders the defendant to serve a

  term of imprisonment for that revocation, the Court may also require that the defendant be placed

  on a new term of supervised release. See 18 U.S.C. § 3583(h). The length of this term of

  supervised release shall not exceed the term of supervised release authorized by statute for the

  offense which resulted in the original term of supervised release, less any term of imprisonment that

  was imposed upon revocation of supervised release. Id.                In this case, the authorized term of

  supervised release by statute is five years to life.             See 18 U.S.C. § 3583(h); 21 U.S.C.

  § 841(b)(1)(A).

             The Fifth Circuit states that Chapter 7 of the Sentencing Guidelines regarding the revocation

  of supervised release is advisory only. See United States v. Cade, 279 F.3d 265, 271 n.2 (5th Cir.

  2002) (citing United States v. Montez, 952 F.2d 854, 859 (5th Cir. 1992); United States v. Headrick,

  963 F.2d 777, 782 (5th Cir. 1992)). Because Chapter 7 was promulgated as an advisory policy

  statement and there are no applicable guidelines for sentencing after revocation of supervised

  release1, the Court may impose a greater or lesser sentence upon revocation. United States v.



         1
          See U.S. Sentencing Guidelines Manual, Ch. 7, pt. A, cmt. 1 ("At this time, the Commission has chosen to
 promulgate policy statements only.")

                                                       -4-
Case 1:03-cr-00232-MAC-KFG            Document 621         Filed 08/12/15      Page 5 of 6 PageID #:
                                             2678



  Gonzalez, 250 F.3d 923, 925 (5th Cir. 2001). Further, a sentence imposed for revocation will be

  upheld unless it is in violation of the law or plainly unreasonable. Id. See also United States v.

  Pena, 125 F.3d 285, 288 (5th Cir. 1997) (citations omitted).

         Here, the evidence and the defendant’s own admission supports a finding that the defendant

  violated his supervision conditions. Mr. Gordon pled true, agreed with the Court’s recommended

  sentence for that violation, and waived his right to allocute before the District Court.

         Accordingly, based upon the defendant’s plea of true, the agreement of the parties, and the

  evidence presented in this case, it is the recommendation of the undersigned United States

  Magistrate Judge that the District Court accept the plea of true and revoke Defendant’s supervised

  release. The undersigned magistrate judge recommends that the District Court order Defendant to

  serve a term of four (4) months imprisonment.

         The Court further recommends that, upon his release from prison, the defendant serve a new

  term of supervised release of four (4) years and six (6) months. The new term of supervision

  should be subject to the mandatory and standard conditions adopted by the Court and imposed in

  the original judgment of conviction. The Court further finds that the special conditions stated in

  the judgment originally imposed by the District Court are still relevant based on the record of the

  case and the evidence submitted by the Probation Office in conjunction with the petition to revoke.

  Finally, pursuant to the parties’ agreement, the Court further recommends that as an additional

  special condition of supervision, upon his release from prison the defendant be ordered to serve 180

  days community corrections/halfway house time. The revocation judgment should include that

  special condition as follows:

         “defendant shall reside in and participate in the community corrections component of a


                                                 -5-
Case 1:03-cr-00232-MAC-KFG            Document 621         Filed 08/12/15      Page 6 of 6 PageID #:
                                             2679



  Community Corrections Center, as instructed by the probation office, or until successfully

  discharged by the center director, but no longer than 180 days from admission. You shall abide by

  all rules and regulations of the center and be required to pay subsistence.”

         The parties agreed to the imposition of this additional special condition to address Mr.

  Gordon’s ongoing problem with illegal narcotics.             The record evidence supports this

  recommendation and justifies the imposition of this new special condition.

                                           OBJECTIONS

         Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

  days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

  object bars that party from: (1) entitlement to de novo review by a district judge of proposed

  findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

  (2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

 .conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415,

  1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the courts

  require that, when a party takes advantage of his right to object to a magistrate’s findings or

  recommendation, a district judge must exercise its nondelegable authority by considering the actual

  evidence and not merely by reviewing and blindly adopting the magistrate judge’s report and

  recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

  Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                    SIGNED this the 12nd day of August, 2015.




                                                  -6- ____________________________________
                                                        KEITH F. GIBLIN
                                                        UNITED STATES MAGISTRATE JUDGE
